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      7
           Attomeys for Sheriff, Police Chief, and
      8    Chief Probation Intervenor-Defendants
   9
  10                               IN THE UNITED STATES DISTRICT COURTS

  11                             FOR THE EASTERN DISTRICT OF CALIFORNIA
  12                            AND THE NORTHERN DISTRICT OF CALIFORNIA
  13              UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
  14                     PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
  15
           RALPH         COLEMAN, et al.,                    Case No: CIV S-90-0520 LKK JFM P
  16
                            Plaintiffs,                      THREE-JUDGE COURT
  17
                   VS.
  18
           ARNOLD         SCHWARZENEGGER, et
 19
 20                          Defendants.
 21
                                                             [F.R.C.P. 24; 18 U.S.C. § 3626(a)(3)(F)]
 22
                                                             CaseNo.: C01-1351 TEH
 23        MARCIANO          PLATA, et al.,
                                                             THREE-JUDGE COURT
 24                          Plaintiffs,
                                                             INTERVENOR-DEFENDANT ORANGE
 25                VS.                                       COUNTY SHERIFF'S RESPONSES TO
                                                             PLAINTIFFS' FIRST SET OF
 26        ARNOLD         SCHWARZENEGGER, et                 INTERROGATORIES
           alo,
 27
                             Defendants,
 28
                                                            -1-
             INTERVENOR-DEFENDANT ORANGE COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
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          PROPOUNDING PARTIES:                   Plaintiffs, MARCIANO PLATA, et al.
      2   RESPONDING PARTY:                      Intervenor-Defendant, ORANGE COUNTY SHERIFF
      3   SET NUMBER:                            One (1)
      4            TO ALL PARTIES AND TO THEIR. COUNSEL OF RECORD:
      5            Pursuant to Federal Rules of Civil Procedure Rule 33, Intervenor-Defendant
      6   Orange County Sheriff separately and fully responds to Plaintiffs' First Set of
      7   Interrogatories as follows:
      8                        Preliminary Statement and General Ob,jeetions
      9            1.     Intervenor-Defendant has not completed investigation of the facts relating
  10      to this case, has not completed  discovery in this action and has not completed preparation
  11      for trial. Therefore, these responses, while based on diligent factual exploration, reflect
  12      only Intervenor-Defendant's current state of knowledge, understanding, and belief with
  13      regard to the matters about which inquiry has been made. Intervenor-Defendant reserves
  14      the right to supplement these responses with subsequently obtained or discovered
  15      information. With regard to each interrogatory, Intervenor-Defendant reserves the right,
 16       notwithstanding these answers and responses, to employ at trial or in any pretrial
 17       proceeding herein information subsequently obtained or discovered, information the
 18       materiality of which is not presently ascertained, or information Intervenor-Defendant
 19       does not regard as coming within the scope of the interrogatories as Intervenor-Defendan
 20       understands them.
 21                2.     These responses are made solely for the purpose of this action. Each
 22       answer    is subject to all objections as to competence, relevance, materiality, propriety,
 23       admissibility, privacy, privilege, and any and all other objections that would require
 24       exclusion of any statement contained herein if any such interrogatories were asked of, or
 25       any statement contained herein if any such interrogatories were asked of, or any
 26       statement contained herein were made by, a witness present and testifying in court, all of
 27       which objections and grounds are reserved and may be interposed at the time of trial.
 28              3.      Except for explicit facts admitted herein, no incidental or implied
                                                           -2-
           INTERVENOR-DEFENDANT ORANGE COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
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           1    admissions are intended hereby. Intervenor-Defendant's answers or objections to any
       2        interrogatory are not an admission of any fact set forth or assumed by that interrogatory.
       3        In addition, each of Intervenor-Defendant's answers to an interrogatory or part of any
       4        interrogatory is not a waiver of part or all of any objection he might make to that
       5        interrogatory, or an admission that such answer or objection constitutes admissible
       6        evidence. Intervenor-Defendant asserts these objections without waiving or intending to
       7       waive any objections as to competency, relevancy, materiality or privilege.
       8                4.     To the extent Intervenor-Defendant responds to these interrogatories, the
       9       responses will not include information protected by the right of privacy. All objections
  10           on the grounds of constitutional and common law privacy rights are expressly preserved.

  11                    5.      Intervenor-Defendant objects to each and every Interrogatory to the extent
  12           that Plaintiffs are requesting information that is neither relevant to the subject matter of
  13           this action nor reasonably calculated to lead to the discovery of admissible evidence.
  14                   6.      Intervenor-Defendant objects to the Interrogatories to the extent that they
  15           are vague and ambiguous
                                            and do not include adequate definition, specificity, or limiting
  16           factors.
  17                      7.     Intervenor-Defendant objects to the Definitions provided by Plaintiffs and
  18           the term "PERSON." The definition.is vague, ambiguous, and overbroad as used in thes(
  19           Interrogatories.
  20                  Subject to and without waiving the foregoing objections, and incorporating them
 21            by reference into each ofthe responses provided below, Intervenor-Defendant hereby
 22            responds as follows:
 23            INTERROGATORY NO. 1:
 24                       From January 1, 1995 until the present, have any limit(s) been in place, as the
 25            result of any lawsuit, on the number of people that can be housed in any jail operated
 26            and/or maintained by YOU? If so:
 27                              (a)    State the name, date and case number of every case which resulted h
 28            any such limit(s).
                                                                -3-
                INTERVENOR-DEFENDANT ORANGE COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
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       1    RESPONSE TO INTERROGATORY NO. 1:
       2              In addition to the General Objections stated above, Intervenor-Defendant objects
       3    to this interrogatory on the grounds that it is vague, ambiguous and overbroad; to the
       4    extent that it seeks information not relevant to this litigation nor reasonably calculated to
       5   lead to the discovery of admissible evidence.
       6            Without waiving and subject to the objections, [ntervenor-Defendant responds as
       7   follows:
       8            Yes. Stewart v. Gates, No. CV 75-3075-WPG,            May 3, 1978.
       9   INTERROGATORY NO. 2:
  10                In any instance, from January       1, 1995 until the present, in which any limit(s) have
  11       been in place on the number of people that can be housed in any jail operated and/or
  12       maintained by YOU, what mechanisms were used to comply with those limits?
  13                        (a)    Identify all DOCUMENTS which relate to YOUR answer.
  14                        (b)    Identify all PERSONS whom YOU believe or suspect have
  15       information to support YOUR        answer.

  16       RESPONSE TO INTERROGATORY NO. 2:
  17                In addition to the General Objections stated above, Intervenor-Defendant objects
  18       to this interrogatory on the grounds that it is vague, ambiguous and overbroad in that it
  19       fails to state with reasonable particularity the information being requested and seeks
 20        information not relevant to this litigation nor reasonably calculated to lead to the
 21        discovery of admissible evidence.
 22        INTERROGATORY NO. 3:
 23                 From January 1, 1995 until present, how many people have had their releases from
 24        any jail operated and/or maintained by YOU accelerated as a result of any limit(s) placed
 25        on   the number of people that can be housed in that jail?
 26                         (a)   Identify all DOCUMENTS which relate to YOUR answer.
 27                         (b)   Identify all PERSONS whom YOU believe or suspect have
 28        information to support YOUR answer.

            [NTERVENOR-DEFENDANT ORANGE COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
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           1    RESPONSE TO INTERROGATORY NO. 3:
        2              In addition to the General Objections stated above, Intervenor-Defendant objects
        3      to this interrogatory on the grounds    that it is vague, ambiguous and overbroad in that it
       4       fails to state with reasonable pal2ticularity the information being requested and seeks
       5       information not relevant to this litigation nor reasonably calculated to lead to the
       6       discovery of.admissible evidence.
       7       INTERROGATORY NO. 4:
       8               What ALTERNATIVE PLACEMENT PROGRAMS have been in existence, from
       9        January 1, 1995 until present, in any county in which YOU operate and/or maintain a
   10          jail?
  11                          (a) For each such program, describe the mission and/or purpose of the
  12           placement program.
  13                          (b) For each such program, identify what criteria are used to decide who
  14           may enter the program.
  15                          (c)      Identify all DOCUMENTS which relate to YOUR answer.
  16                          (d)      Identify all PERSONS whom YOU believe or suspect have
  17           information to support YOUR         answer.

  18           RESPONSE TO INTERROGATORY NO. 4:
  19                  In addition to the General Objections stated above, Intervenor-Defendant objects
  20           to this interrogatory   on   the grounds that it is vague, ambiguous and overbroad in that it
  21           fails to state with reasonable particularity the information being requested and seeks
  22           information not relevant to this litigation nor reasonably calculated to lead to the
 23            discovery of admissible evidence.
 24

 25
 26
               DATED: May 27, 2008

                                                                   Ivy'S.•
                                                             Respectfully submitted,
                                                             JONES & MAYER

                                                             BY:
 27                                                                  •'°•d f°c• Sr he c•icf• sP•n°tbgtrvie°•rP_
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                                                                                                                  ° li c e
 28                                                                  Defendants
                                                               -5-
                INTERVENOR-DEFENDANT ORANGE COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS" FIRST SET OF INTERROGATORIES
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